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                                  UNITED STATE DISTRICT COURT
                                 NORTHERN DISTRICT OF NEW YORK

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 ROSE E. DeGROAT,

                                        Plaintiff,           Docket No. _______________
 v.
                                                             JURY TRIAL DEMANDED
 BENJAMIN BUCK, ZACHARY DORN,
 GEORGE DUPAY, and GREGORY
 HERZ,
                    Defendants.

                                                     COMPLAINT


         Plaintiff, Rose E. DeGroat, by and through her attorney, Edward E. Kopko, Esq.,

asserts a claim against the aforementioned Defendants upon causes of action stated as

follows:

                                                INTRODUCTION

1. This is a § 1983 action seeking monetary damages and injunctive relief for acts of

      excessive force and failure to intervene the Plaintiff, Rose DeGroat (“DeGroat”).

2. On April 6, 2019, Ithaca Police officers responded to an altercation taking place late at

      night in downtown Ithaca, which ended in the arrest of Cadji Ferguson (“Ferguson”)

      and DeGroat.




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3. The underlying altercation started when a white male, Joseph Ming (“Ming”) made

   non-consensual sexual advances towards L.S., a friend of Ferguson, an African-

   American, and DeGroat, despite Ferguson repeatedly telling Ming to stop his actions.

4. After Ming continued to persist, Ferguson attempted to get Ming away from L.S.,

   acting to protect L.S. from what both L.S., Ferguson, and the rest of the group believed

   to be a situation of imminent physical danger.

5. Ming continued to persist, responding hostilely to Ferguson and fighting with him.

6. Meanwhile, a few hundred feet away, a young woman approached Defendants Buck,

   Dorn, DuPay, and Herz, who were working within their regular capacities as police

   officers for the City of Ithaca. The woman, upon information and belief, alerted the

   Defendants to the altercation.

7. Immediately, Defendants Buck, Dorn, DuPay, and Herz ran over to where Ferguson

   and Ming were standing with their tasers already deployed.

8. Despite the aggressions of Ming, and despite Ferguson acting to defend L.S., DuPay

   grabbed Ferguson and swung him to the ground as Defendant Herz tased him.

   Meanwhile Defendants Buck and Dorn collectively tackled DeGroat.

9. Both Ferguson and DeGroat were held on the ground for minutes, while no officer

   even laid a finger on Ming.

10. Both Ferguson and DeGroat were then arrested.           Ferguson was charged with

   disorderly conduct and DeGroat with assault, despite neither of them conducting



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   such acts. They were then prosecuted until the Tompkins County Court granted a

   motion to dismiss the charges against DeGroat. Ferguson was acquitted of all charges

   after a bench trial by Ithaca City Court.

11. Without seeing or knowing the underlying assault by Ming, the defendants assumed

   that Ferguson, being an African-American, was the instigator, and the defendants

   assaulted and subdued Ferguson, solely upon their biased, racial-motivated

   judgment.

12. From the time the Defendants became involved, the events giving way to this

   Complaint were captured on their body cameras, which were delivered by the

   prosecutor in connection with discovery underlying Ferguson and DeGroat’s former

   criminal charges, absent footage from Defendant Buck, whose body camera footage

   from during these incidents, if any, was precluded from discovery. A copy of

   Defendant’s Dorn, DuPay, and Herz’s body camera footage from the incident has

   been mailed to the Court as “Exhibit 1”.

                                JURISDISCITON AND VENUE

13. DeGroat’s claims against Defendants are predicated 42 U.S.C. § 1983, deprivation of rights

   claims, all of which occurred in Tompkins County.

                                 IDENTITY OF THE PARTIES

14. At all times pertinent herein, Plaintiff ROSE DeGROAT, (“DeGroat”), is a citizen of the

   United States and a resident of the State of New York, County of Tompkins.



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15. At all times pertinent herein, Defendant BENJAMIN BUCK, (“Buck”), is a citizen of the

   United States and a resident of the State of New York, County of Tompkins.

16. At all times pertinent herein, Buck is acting under color of state law in his capacity as a law

   enforcement officer employed by the Ithaca Police Department.

17. At all times pertinent herein, Buck is acting in the course and general scope of his

   employment by the Ithaca Police Department, pursuant to the authority given to him by the

   department and the City of Ithaca and pursuant to its instructions and duty assignments.

18. By virtue of Buck’s employment as police officer with the Ithaca Police Department, Buck is

   a “police officer” as the term is defined in CPL § 1.20(34)(d).

19. As a police officer, Buck, when seizing, arresting, and acting with force against DeGroat,

   acted under color of law by using the authority vested in him by virtue of his employment

   with the Ithaca Police Department and by using the arrest procedures, appearance ticket

   procedures, and preliminarily arraignment procedures set forth in CPL § 150.20, which

   procedures are only available to police officers.

20. Buck is sued in his individual capacity.

21. At all times pertinent herein, Defendant ZACHARY DORN, (“Dorn”), is a citizen of the

   United States and a resident of the State of New York, County of Tompkins.

22. At all times pertinent herein, Dorn is acting under color of state law in his capacity as a law

   enforcement officer employed by the Ithaca Police Department.




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23. At all times pertinent herein, Dorn is acting in the course and general scope of his

   employment by the Ithaca Police Department, pursuant to the authority given to him by the

   department and the City of Ithaca and pursuant to its instructions and duty assignments.

24. By virtue of Dorn’s employment as police officer with the Ithaca Police Department, Buck is

   a “police officer” as the term is defined in CPL § 1.20(34)(d).

25. As a police officer, Dorn, when seizing, arresting, and acting with force against DeGroat,

   acted under color of law by using the authority vested in him by virtue of his employment

   with the Ithaca Police Department and by using the arrest procedures, appearance ticket

   procedures, and preliminarily arraignment procedures set forth in CPL § 150.20, which

   procedures are only available to police officers.

26. Dorn is sued in his individual capacity.

27. At all times pertinent herein, Defendant GEORGE DuPAY, (“DuPay”), is a citizen of the

   United States and a resident of the State of New York, County of Tompkins.

28. At all times pertinent herein, DuPay is acting under color of state law in his capacity as a law

   enforcement officer employed by the Ithaca Police Department.

29. At all times pertinent herein, DuPay is acting in the course and general scope of his

   employment by the Ithaca Police Department, pursuant to the authority given to him by the

   department and the City of Ithaca and pursuant to its instructions and duty assignments.

30. By virtue of DuPay’s employment as police officer with the Ithaca Police Department, Buck

   is a “police officer” as the term is defined in CPL § 1.20(34)(d).



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31. As a police officer, DuPay, when seizing, arresting, and acting with force against DeGroat,

   acted under color of law by using the authority vested in him by virtue of his employment

   with the Ithaca Police Department and by using the arrest procedures, appearance ticket

   procedures, and preliminarily arraignment procedures set forth in CPL § 150.20, which

   procedures are only available to police officers.

32. DuPay is sued in his individual capacity.

33. At all times pertinent herein, Defendant GREGORY HERZ, (“Herz”), is a citizen of the

   United States and a resident of the State of New York, County of Tompkins.

34. At all times pertinent herein, Herz is acting under color of state law in his capacity as a law

   enforcement officer employed by the Ithaca Police Department.

35. At all times pertinent herein, Herz is acting in the course and general scope of his

   employment by the Ithaca Police Department, pursuant to the authority given to him by the

   department and the City of Ithaca and pursuant to its instructions and duty assignments.

36. By virtue of Herz’s employment as police officer with the Ithaca Police Department, Buck is

   a “police officer” as the term is defined in CPL § 1.20(34)(d).

37. As a police officer, Herz, when seizing, arresting, and acting with force against DeGroat,

   acted under color of law by using the authority vested in him by virtue of his employment

   with the Ithaca Police Department and by using the arrest procedures, appearance ticket

   procedures, and preliminarily arraignment procedures set forth in CPL § 150.20, which

   procedures are only available to police officers.



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38. Herz is sued in his individual capacity.

                             FACTS COMMON TO ALL CLAIMS

                          Ferguson attempts to stop a sexual predator

39. On the morning of April 6, 2019, on or around 1:10 am, DeGroat left Casablanca Pizza,

   a pizza shop located in the “Commons” in downtown Ithaca, with her friends “R.J.”,

   “L.S.”, “K.W.” and “D.S.”, the brother of Ferguson.

40. The “Commons” is a four-block pedestrian mall and shopping area in downtown

   Ithaca, with many owned and operated shops, restaurants, and other businesses.

41. The group planned to meet Ferguson just outside of Casablanca Pizza.

42. As Ferguson was approaching the group, he saw a stranger who he would later learn

   to be named Joseph Ming (“Ming”) eyeing the group in a manner that Ferguson

   perceived to be “suspicious.” Ferguson, however, did not take any action towards

   this individual.

43. Ferguson, DeGroat, D.S., R.J., L.S., and K.W. started to walk eastward down the

   commons.

44. Ming followed the group, walking very close to them.

45. Ming proceeded to walk directly behind L.S., pressing his pelvis into L.S.’s backside.

   Ming’s actions made the group, and especially L.S., very uncomfortable.

46. L.S. gave no consent to Ming for Ming to press his pelvis into her backside.




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47. Ferguson asked his group of friends if anyone knows Ming, to which everyone in the

   group, feeling uncomfortable by Ming’s presence, said no.

48. Ferguson then asked Ming if he knows anyone in Ferguson’s group, informing Ming

   that his predatory actions were unwelcome and non-consensual.

49. Ming, disregarding Ferguson’s question, said “I’m just here… it’s cool,” or something

   to a similar effect.

50. At this point, Ferguson told Ming that he was not welcome, and especially not

   welcome to press his pelvis into L.S.’s backside.

51. At this point Ming swung his fist at Ferguson.

52. Ferguson, determining that Ming has turned violent after his perceived sexual

   advances towards L.S., pushed Ming back.

53. Meanwhile, DeGroat is standing out of the way protesting the abhorrent and

   predatory nature of Ming.

54. Ming then grabbed Ferguson by the jacket, as Ferguson attempted to take it off, then

   proceeded to swing Ferguson by his jacket.

55. After a few seconds of struggle, Ferguson got his jacket fully off and punched Ming

   in the face. Ming went down to the ground.

56. Ming stayed on the ground for a few seconds, before getting back up.




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57. The following events are recorded on police body camera footage, which was

   delivered by the prosecutor in connection with discovery for both DeGroat and

   Ferguson’s criminal case.

58. The body camera footage of Defendant Dorn is stored on a flash drive, “Exhibit 1,”

   titled “AXON_Body_2_Video_2019-04-06_0118_x81344880_(DORN).”

59. The body camera footage of Defendant DuPay is stored on a flash drive, “Exhibit 1,”

   titled “AXON_Body_2_Video_2019-04-06_0118_x8134480_(DuPAY).”

60. The body camera footage of Defendant Herz is stored on a flash drive, “Exhibit 1,”

   titled “AXON_Body_2_Video_2019-04-06_0118_x81169265_(HERZ).”

61. Upon information and belief, Defendant Buck did not have his body camera on during

   the following events.

62. Alternatively, if Defendant Buck did have his body camera on during the following

   events, the video was not provided in the prosecutor’s discovery in connection with

   Ferguson and DeGroat’s underlying criminal action.

  AXON Body Camera Footage – DeGroat Gets Assaulted for Protesting Ferguson
         Getting Assaulted for Attempting to Stop a Sexual Predator

63. Defendants Buck, Dorn, Dupay, and Herz stand at a location on the westward side of

   the Commons, when a young woman approaches them during a period of time, upon

   information and belief, moments before the events contained in this Complaint. (Ex.

   1 Dorn, 0:16; (b) DuPay, 0:00; (c) Herz 0:18).




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64. After conversing with the young woman, Buck, Dorn, DuPay, and Herz collectively

   take off running towards Ferguson. (Ex. 1 Dorn, 0:28-0:37; DuPay, 0:00-0:10; Herz

   0:18-0:28).

65. While Herz runs, he grabs hold of his taser and continues to run holding it. Before he

   approaches Ferguson, who is wearing a red long-sleeve shirt and brown pants, Herz

   yells “get on the ground” four times, pointing the taser directly at Ferguson. (Ex. 1

   Herz 0:35-0:40).




66. Herz proceeds to approach Ferguson from the back.

67. Meanwhile, DuPay approaches Ferguson and immediately grabs onto his right arm

   with both of his hands twirling him a full 360 degrees, as Ferguson attempts to move

   away from Herz’ taser which is pointed directly at him. (Ex. 1, DuPay, 0:18-0:24).




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68. As DuPay twirls Ferguson, Herz trips and falls to the ground.

69. The body camera footage of Dorn clearly shows Herz tripping over the legs of DuPay

   as he grabs Ferguson. (Ex. 1, Dorn, 0:38).




70. Upon getting back up, Herz immediately deploys his taser right into Ferguson’s back.

   (Ex. 1, Herz, 0:43-0:44).




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71. DeGroat stands next to Ferguson protesting Ferguson being assaulted and twirled by

   officer DuPay and tased in the back by officer Herz.

72. Simultaneously, as DuPay swings Ferguson and as he is tased by Herz, Ferguson is

   smashed to the ground, which he hit with the left side of his face. (Ex. 1 Dorn, 0:44-

   0:45, DuPay, 0:24-0:25).

73. DeGroat attempts to assist Ferguson because of the illegal arrest and tries to pull

   DuPay off of Ferguson believing that his arrest is unlawful, as Ferguson was only

   involved in the underlying altercation in self-defense against Ming’s actions to L.S.

74. Buck pulls DeGroat away from DuPay and Ferguson and slams DeGroat to the

   ground. (Ex. 1, Dorn, 0:47-0:49).




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75. DeGroat is justified in believing her assault and Ferguson’s assault is unlawful and in

   reaction to Ferguson being tased and tackled to the ground. (Ex. 1, Dorn, 0:50).

76. Buck wrestles with DeGroat, bending her background over a flowerbed in attempt to

   pull her back to the ground.

77. Herz then deploys his taser into DeGroat’s left side in her rib-cage area. (Ex. 1, Dorn,

   1:00-1:05)




78. Upon information and belief, immediately after being tased, DeGroat is then tackled

   back to the ground by Buck and Dorn.            At this time, however, upon further

   information and belief, Dorn’s body camera falls off and does not record the next

   thirty-nine seconds of the altercation. (Ex. 1, Dorn, 1:08-1:47).

79. Meanwhile Herz continues stands over Ferguson pointing his taser at him (Ex. 1,

   Herz, 0:51-0:53).

80. DuPay then holds Ferguson on the ground, twisting Ferguson’s arm with his right

   hand, as shown below. (Ex. 1, DuPay, 0:27-0:32).



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81. Next, DuPay turns Ferguson over onto his stomach, as DeGroat is held on the ground

   by Buck and Dorn (Ex. 1, DuPay 0:33).




82. DuPay then points his taser at the group of bystanders, who are standing about 12-15

   feet away and are protesting the apparent arrest of both DeGroat and Ferguson,

   yelling at them repeatedly to “Get back! Get back now!”. (Ex. 1, DuPay, 0:35-0:48).




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83. Upon information and belief, the group of bystanders, which included D.S., R.J., L.S.,

   and K.W., amongst others, were frightened by having the taser pointed at them while

   they stood protesting.

84. DuPay then kneels next to Ferguson, who remains still and calm.

85. Meanwhile, DeGroat is screaming and crying, as she justifiably resists the illegal

   arrest.

86. Herz then proceeds to make his way over to assist Buck and Dorn with DeGroat as

   DuPay places Ferguson into handcuffs. (Ex. 1 DuPay 0:54-1:11; Herz, 0:54-0:58).

87. Upon reaching DeGroat, Herz kneels down and with the accompaniment of either

   Dorn, whose camera is covered during this time, or Buck, who has no footage, further

   points his taser at the group of bystanders, continually yelling “Get back! Get back

   now!” despite the bystanders standing feet away and evidently not interfering with

   any of the Defendant’s work. (Ex. 1, Herz, 1:02-1:06).




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88. At this time, Herz’s body camera becomes covered by his jacket for the next thirty-six

   seconds, as Buck and Dorn continue to wrestle with DeGroat and, upon information

   and belief, place her into handcuffs during this time. (Ex. 1, Herz, 1:08-1:42).

89. DeGroat is screaming and crying, as Herz continues to yell at the bystanders to “get

   back!”. (Ex. 1, Herz, 1:08-1:42).

90. Both Dorn’s and Herz’s body camera recording resumes, as Herz points his taser,

   again, at the group of bystanders, while Buck presses his left hand down on DeGroat’s

   back. (Ex. 1, Dorn, 1:45-1:50; Ex. 1, Herz, 1:43-1:52).




91. Then, Herz’s body camera goes back to being covered up for the next two minutes.

   (Ex. 1, Herz, 1:54-3:56).

92. Meanwhile, DuPay takes a knee on Ferguson’s back, despite Ferguson being in

   handcuffs. (Ex. 1, Dorn, 1:47).




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93. From the body camera footage of Dorn, DuPay keels on Ferguson’s back for a period

   of time not less than one minute and eight seconds. (Ex. 1, Dorn, 1:47-2:55).

94. As Buck and Herz continue to struggle with DeGroat and DuPay keels either on or

   next to Ferguson, additional officers arrive at the scene directing the bystanders back

   while Dorn walks around aimlessly. (Ex. 1, Dorn, 2:04-3:14).

95. Buck directs DeGroat up to a sitting position and, upon information and belief, hurts

   DeGroat. Ferguson, taking his left cheek of the ground responds: “Rosie, Rosie, calm

   down. Rosie, calm down. Rosie, calm down. Calm down, Rosie, it’s alright. Rosie,

   calm down,” before placing his left cheek back on the ground. (Ex. 1, DuPay, 2:40-

   2:52).

96. Crying, DeGroat responds, “okay”. (Ex. 1, DuPay, 2:52).

97. Ferguson then says to DuPay, “You guys don’t even know what happened!” (Ex. 1,

   DuPay, 2:54-2:55).




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98. DuPay replies, “I know, the only thing I saw was you take your jacket off and attack

   someone.” (Ex.1, DuPay, 2:56-2:59).

99. Meanwhile, Buck and Dorn bring DeGroat to her feet. (Ex. 1, Dorn, 3:16).

100.   Ferguson said, “Okay, well you don’t know what happened before that! He

   [Ming] tried to assault my friend… he tried to assault my friend!” (Ex. 1, DuPay, 3:00-

   3:07).

101.   At this point, DuPay brings Ferguson to his feet. (Ex. 1, DuPay, 3:10).

102.   The Defendants then collectively, with the assistance of other officers, escort

   Ferguson and DeGroat to the westward side of the commons, both of them to their

   own respective police cruiser. (Ex. 1, Dorn, 3:30-4:12; DuPay, 3:10-4:00).

103.   When Ferguson arrives at the police cruiser, located to the right of The Cornell

   Store in the commons, Ferguson tells DuPay, “He [Ming] tried to attack, he’s a male

   predator. He… he’s thirty-five years old and tried to attack my friend [L.S.] [?].” (Ex.

   1, DuPay, 3:59-4:07).

104.   DuPay proceeds to remove the probes from the taser out of Ferguson’s back. (Ex.

   1, DuPay, 4:55-5:10).

105.   Ferguson proceeds to tells DuPay “I’m really very upset, because you guys tackled

   me and tased me, and I was not resisting or nothing. (Ex. 1, DuPay, 5:33-5:42).

106.   DuPay replies: “Well, I was the first one to grab you … you started pulling away

   from me.” (Ex. 1, DuPay, 5:42-5:48).



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107.   Ferguson replies back: “I moved away because you guys [?] the taser… he [Herz]

   was pointing the taser at me.” (Ex.1, DuPay, 5:48-5:50).

108.   Ferguson continues: “I would not have done that if there was no reason. He

   [Ming] tried to attack my friend (L.S.). He’s [Ming]… look at him. Turn around and

   look at him [Ming]. No, mister, mister, turn around and look at him. He’s forty-five

   years old, he tried to touch a twenty-one-year-old. He came up and grabbed her (L.S.)

   basically by the pussy, and I’m like ‘Mister, that’s not alright,’ and he’s like ‘Get the

   fuck out my face,’ he pushed me. That’s the only reason why I hit that man. To me

   that’s a predator. That’s a fucking predator.” (Ex. 1, DuPay, 6:01-6:34).

109.   A few moments later, Ming comes from around the corner of The Cornell Store

   and, upon information and belief, says something to Ferguson. Ferguson responds

   yelling at Ming calling him a “predator”. (Ex. 1, DuPay, 6:55-7:10).

110.   Ferguson is then placed into the police cruiser. (Ex. 1, DuPay, 7:10).

                              The Prosecution of DeGroat

111.   DeGroat was arrested and arraigned the next morning, at 9:00 am, on two counts

   of Attempted Assault-2nd (E felony) and Resisting Arrest (A Misdemeanor).

112.   Ferguson was arrested and issued an appearance ticket for disorderly conduct

   (violation).

113.   Hours later, a press release was issued regarding the arrest of Ferguson and

   DeGroat, stating “Officers witnessed a male subject, later identified as Ferguson



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   Ferguson, run across the commons and strike another male subject in the face,

   knocking him to the ground. The officers ran towards the fight and attempted to take

   Ferguson into custody […]” and that DeGroat was arraigned earlier on resisting arrest

   for “interfering with the lawful arrest of Ferguson.” (Exhibit 2, Press Release).

114.   In support of their first attempted assault charge against DeGroat, the Ithaca Police

   Department, within their felony complaint, stated that "[DeGroat] did knowingly and

   intentionally punch your deponent [DuPay], a uniformed police officer, in the back

   his head and shoulders, while your deponent and Officer G. Herz, another uniformed

   police officer, were attempting to effect a lawful arrest on Ferguson Ferguson [DOB

   omitted]. As a result, your deponent sustained a headache from the defendant's

   actions." (Exhibit 3, DeGroat Felony Complaint, signed by DuPay).

115.   DuPay's statements, however, are contradicted by the body camera footage, which

   shows DeGroat attempting to pull DuPay off Ferguson during what DeGroat

   perceived to be an unlawful arrest, which was made difficult by DuPay swinging

   Ferguson around 360 degrees.

116.   In support of their second attempted assault charge against DeGroat, the Ithaca

   Police Department, within their felony complaint, stated that "Your deponent [Buck]

   then attempted to place the defendant under arrest and she attempted to punch your

   deponent before the defendant dug her fingernails into the left side of your deponents'




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   face. As a result, your deponent began to bleed from the scratch the defendant left."

   (Exhibit 4, DeGroat Felony Complaint, signed by Buck).

117.   The IPD and the prosecutor included within their discovery, multiple photographs

   of Buck’s left check with a scratch on it. (Exhibit 5, Photographs of Buck).

118.   Buck’s statements, however, are contradicted by police body camera footage,

   which shows DeGroat never attempting to dig her fingernails into the left side of

   Buck’s face.

119.   Furthermore, Buck’s statements are contradicted by multiple views of the left side

   of Buck’s face, contained on additional police body camera footage just hours after the

   arrest of DeGroat.      (Exhibit 1, Body Camera Footage from Inside Station,

   Axon_Body_2_Video_2019-04-06_0140_x81156157, 0:13-0:14; 0:17-0:24).




120.   On April 17, 2019, a Tompkins County Assistant District Attorney sent a letter to

   Ithaca City Court Judge Scott Miller stating that the District Attorney’s office

   preferred not to prosecute her case at the felony level, and requested an Order


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   Reducing Charges to Obstructing Governmental Administration in the Second

   Degree, which was later signed by Judge Miller. (Exhibit 6, Letter Order Reducing

   Charges).

121.   However, a month later, the District Attorney’s office reversed course and sent a

   Grand Jury Notice to DeGroat DeGroat’s Attorney after, upon information and belief,

   speaking to the Defendants about the incident. (Exhibit 7, Grand Jury Notice, May 16,

   2019).

122.   On June 6, 2019, DeGroat was indicted (No. 2019-0042), on one count of

   Obstructing Governmental Administration-2nd, two counts of Attempted Assault-2nd,

   and Resisting Arrest. (Exhibit 8, Indictment, June 6, 2019).

123.   Months later, at the end of August 2019, Ferguson had a bench trial over his charge

   of disorderly conduct. The Honorable Scott Miller of Ithaca City Court acquitted

   Ferguson of all charges.

124.   The next month, on September 27, 2019, the Honorable Judge Joseph A. Rowley

   issued a Decision and Order dismissing all of DeGroat’s charges upon a motion for

   dismissal in the furtherance of justice. (Exhibit 9, Decision and Order). The full

   Decision & Order was published in an article by the Ithaca Voice titled “Judge

   dismissed charges against Rose DeGroat.” (Exhibit 10, Ithaca Voice Article Per Judge

   Rowley’s decision, the rationale laid in officers contradictions regarding Cadji.




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Rowley’s decision, which was published in the Ithaca Voice, an Ithaca Local

Newspaper, states the following:

         “Officer Herz testified before the Grand Jury that he made the decision to
         use his taser on Mr. Ferguson before he reaches him for two reasons. First,
         he said he made eye contact with Mr. Ferguson, a man he described as
         ‘small, younger guy’, and concluded that he was about to run from the
         police. Second, ‘he had already used force against someone else – I had no
         idea the condition, the guy could have been unconscious for all I knew.’
         […] “He testified that when he looked up, he saw other officers trying
         unsuccessfully to physically restrain Mr. Ferguson. Having a clear line of
         sight to Mr. Ferguson’s back, Officer Herz deployed his taser. “He went
         down just as picture perfect as we are trained and I immediately went
         towards him and tried to help take him into custody.”
         (Exhibit 10, emphasis added).

         “The video evidence contradicts parts of Officer Herz’s account. While Mr.
         Ferguson did push Mr. Ming to the ground, Mr. Ming stood up within seconds
         in clear view of the police and well before any of the officers arrived at the scene.
         As the officers approached, Mr. Ming and Mr. Ferguson were essentially
         squaring off with each other like a couple of boxers. Neither appeared to
         have a weapon. As the police officer arrived, Mr. Ferguson turned away
         from them and took a couple of steps before he was forcefully grabbed and
         pushed to the ground by the police. There was no time for Mr. Ferguson to
         hear, understand, or respond to the command that he get on the ground. As the
         two officers sought to physically restrain him, Mr. Ferguson was unarmed
         and was not fighting with the officers when he was tasered. He is clearly
         in a video with one arm free while an officer twisted him around by his
         other arm. […] Upon careful review of the videotapes, the Court concludes
         that the Ithaca Police Officers overreacted to the initial situation. […] The
         police made no effort to defuse the situation or to simply separate the men
         while the conflict was sorted out. They rushed Mr. Ferguson and very
         aggressively tried to force him to the pavement when he was tasered in the
         back. Officer Hertz was not justified in using a taser on Mr. Ferguson. His claim
         that Mr. Ferguson might have knocked Mr. Ming unconscious was clearly not true;
         his claim that he could tell Mr. Ferguson was getting ready to run is
         doubtful; and it is not accurate to characterize Mr. Ferguson’s actions as
         resisting arrest.”
         (Exhibit 10, emphasis added).


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Lastly, the decision states:

              “Ms. DeGroat witnessed the police charge toward her friend [Cadji],
              forcibly grab him and inexplicably taser him. She saw him collapse to the
              ground, unable to move. As soon as Mr. Ferguson was down, a police
              officer jumped on top of him. In the Court’s view, Ms. DeGroat reacted
              instinctively to protect Mr. Ferguson in this fast moving and bewildering
              situation. If not for the regrettable actions of the police, she likely would not
              have intervened.”
              (Exhibit 10, emphasis added).



125.    While DeGroat was eventually freed from her malicious prosecution in the

   furtherance of justice, as of today, she suffers emotional pain and suffering and

   apprehension of the police.

                                       COUNT ONE
       ROSE DeGROAT v. BENJAMIN BUCK, ZACHARY DORN, and GREGORY HERZ
        42 U.S.C. § 1983 – EXCESSIVE FORCE IN VIOLATION OF THE FOURTH AND
        FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

126.    All the allegations of the Complaint are incorporated.

127.    42 U.S.C. § 1983 provides that:

           Every person, who under color of any statute, ordinance, regulation, custom, or usage
           of any state or territory or the District of Columbia who subjects or causes to be
           subjected any citizen of the United States or other person within the jurisdiction
           thereof to the deprivation of any rights, privileges or immunities secured by the
           Constitution and law shall be liable to the party injured in an action at law, suit in
           equity, or other appropriate proceeding for redress…

128.    DeGroat is a citizen of the United States and Buck, Dorn, and Herz are each a “person”

   and a state actor for the purposes of 42 U.S.C. § 1983.




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129.   Buck, Dorn, and Herz, at all times relevant, were acting under the color of state law in

   their capacity as Ithaca City Police Officers and their acts or omissions constitute conduct

   within the scope of their official duties or employment.

130.   DeGroat has a clearly established right under the Fourth Amendment to be secure in her

   person from unreasonably seizure through excessive force. Graham v. Connor, 490 U.S. 386,

   397 (1989).

131.   DeGroat also has the clearly established constitutional right under the Fourteenth

   Amendment to bodily integrity and to be free from excessive force by law enforcement.

132.   Any reasonable police officer knew or should have known of these rights at the time of

   the complained of conduct as they were clearly established at the time.

133.   A police officer’s application of force is excessive in violation of the Fourth Amendment,

   “if it is objectively unreasonable ‘in light of the facts and circumstances confronting them,

   without regard to their underlying intent or motivation.’” Graham, 490 U.S. 386 at 397.

134.   More specifically, “[d]etermining whether the force used to effect a particular seizure is

   ‘reasonable’ under the Fourth Amendment requires a careful balancing of the nature and

   quality of the intrusion on the individual’s Fourth Amendment interests against the

   countervailing governmental interests at stake.” Graham, 490 U.S. at 396 (citations and

   quotation marks omitted).




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135.   Buck, Dorn, and Herz actions and use of force, as described in this Complaint, were

   objectively unreasonable in light of the facts and circumstances confronting them, and

   therefore violated DeGroat’s Fourth Amendment rights.

136.   Buck, Dorn, and Herz actions and use of force, as described in this Complaint, were also

   malicious and/or involved reckless, callous, and deliberate indifference to DeGroat’s

   federally protected rights.

137.   The force used by Buck, Dorn, and Herz shock the conscience and violated DeGroat’s

   Fourteenth Amendment Rights. See Rochin v. California, 342 U.S. 165, 72 S. Ct. 205, 96 L. Ed.

   182 (1952).

138.   Buck, Dorn, and Herz unlawfully seized DeGroat by means of objectively unreasonable,

   excessive and conscious-shocking physical force, thereby unreasonably restraining DeGroat

   of her freedoms.

139.   Buck, Dorn, and Herz use of physical force against DeGroat was objectively unreasonably

   gratuitous, and excessive in light of the facts and circumstances confronting DeGroat in that:

       i.     DeGroat posed no further threat to the situation;

       ii.    DeGroat did not interfere with a lawful arrest, but an unlawful one;

       iii.   DeGroat was not attempting to flee from the police;

       iv.    Buck, Dorn, and Herz assigned their fear of the crowd’s reaction to their violence

              against DeGroat as an excuse to further harm DeGroat;




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       v.      DeGroat never engaged in criminal behavior in the presence of Buck, Dorn, or

               Herz as her actions towards Ming were an act of self-defense on behalf of L.S.

       vi.     Buck, Dorn, and Herz had no authority nor reason to arrest DeGroat;

       vii.    Buck, Dorn, and Herz had no authority no reason to throw DeGroat to the ground;

       viii.   Buck, Dorn, and Herz had no authority no reason to throw DeGroat back to the

               ground after the previously, without authority, threw DeGroat to the ground;

       ix.     Herz had no authority nor reason to tase DeGroat.

140.   The force used caused injury to DeGroat including:

       i.      Scrapes, bruises, and pain to her right ankle from when DeGroat was tackled to

               the ground and twisted about by Buck, Dorn, and Herz;

       ii.     Scrapes, bruises, and pain to her left knee from when DeGroat was tackled to the

               ground and twisted about by Buck, Dorn, and Herz;

       iii.    Scrapes, bruises, taser marks, and pain to her left rib area from when DeGroat was

               tased by Herz;

       iv.     Persistent headaches from when DeGroat was tackled to the ground and twisted

               about by Buck, Dorn, and Herz;

       v.      Pain to both wrists where DeGroat was handcuffed in an overly tight fashion by

               either Buck, Dorn, or Herz.




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141.   Buck, Dorn, and Herz engaged in the conduct described in this Complaint willfully,

   maliciously, in bad-faith, and in reckless disregard of DeGroat’s federally protected

   constitutional rights.

142.   The acts or omissions of Buck, Dorn, and Herz, as described in this Complaint,

   intentionally deprived DeGroat of her constitutional rights and caused her other damages.

143.   Buck, Dorn, and Herz are not entitled to qualified immunity for the complained of

   conduct.

144.   As a proximate result of Buck, Dorn, and Herz’s unlawful conduct, DeGroat has suffered

   actual physical and emotional injuries, and other damages and losses as described in this

   Complaint entitling her to compensatory and special damages, in amounts to be determined

   at trial.

145.   As a further result of Buck, Dorn, and Herz’s unlawful conduct, DeGroat has incurred

   special damages, including medical related expenses and may continue to incur further

   medical and other special damages, in amounts to be determined at trial.

146.   DeGroat is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C. § 1988, pre-

   judgment interests and costs as allowable by federal law.

147.   Upon information and belief, Buck, Dorn, and Herz will continue in their unlawful

   conduct, unless and until restrained by this court.

148.   In addition to compensatory, economic, consequential, and special damages, DeGroat is

   entitled to punitive damages against Buck, Dorn, and Herz under 42 U.S.D.C. § 1983, in that



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   the actions of Buck, Dorn, and Herz were taken maliciously, willfully, or with a reckless or

   wanton disregard of the constitutional rights of DeGroat.

                                      COUNT TWO
                            ROSE DeGROAT v. GEORGE DuPAY
             42 U.S.C. § 1983 – FAILURE TO INTERVENE, EXCESSIVE FORCE

149.   All the allegations of the Complaint are incorporated.

150.   DuPay, knew or should have known, or deliberately ignored that Buck, Dorn, and Herz’s

   treatment against DeGroat was a constitutional violation against DeGroat as Buck tackled

   DeGroat to the ground while she posed no threat to anyone at the scene and while DeGroat

   was not interfering with a lawful arrest.

151.   DuPay had reasonable opportunity to intervene and prevent the violation of DeGroat’s

   constitutional rights by Buck, Dorn, and Herz, but failed to act.

152.   DuPay had an affirmative duty to intervene on behalf of DeGroat whose constitutional

   rights were being violated in the presence of DuPay.

153.   DuPay failed to take any affirmative steps to intervene with Buck, Dorn, and Herz’s

   violations of DeGroat’s constitutional rights.

154.   As a result of DuPay’s failure to intervene, DeGroat’s constitutional rights were violated.

155.   As a result of the foregoing, DeGroat is entitled to compensatory damages in an amount

   to be determined at trial and is further entitled to punitive damages against Buck, Dorn, and

   Herz in amount to be determined at trial, plus reasonable attorney’s fees, costs, and

   disbursements of this action.



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                                    RELIEF REQUESTED

      WHEREFORE, on the first, second, third, and forth cause of action, and as a result

of the foregoing, Plaintiff ROSE DeGROAT prays that this Court enter judgment for

Plaintiff and against each of the Defendants and grant:

      a. Monetary damages for past and future pain and suffering in an amount to be

          determined at trial but believed to be not less than five-hundred thousand

          dollars;

      b. Punitive damages against all Defendants;

      c. A permanent injunction against Defendants Buck, Dorn, DuPay, and Herz, from

          engaging use of excessive force and failure to intervene;

      d. Attorneys’ fees and the costs associated with this action under 42 U.S.C. § 1988,

          including expert witness fees, on all claims allowed by law;

      e. Pre- and post-judgment interest at the lawful rate; and

      f. Any further relief that this court deems just and proper.




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                    Ithaca Police Department
                    120 East Clinton Street
                    Ithaca, New York 14850 USA
                    Pete Tyler, Chief of Police                            Vincent Monticello, Deputy Chief of Police
                    Police Administration/Records: 607-272-9973            Dennis Nayor, Deputy Chief of Police



                                              MEDIA RELEASE

Prepared by: Sergeant David Amaro               Date Prepared: April 6, 2019
Type of Incident: Attempted Assault of a Police Officer
Date and Time of Incident: April 6, 2019 at about 1:20 am
Location of Incident: Ithaca Commons

Defendant: Rose Degroat                     Age: 22       Address: Ithaca, NY
Charges:
Attempted Assault in the Second Degree, Class E Felony, 2 counts
Resisting Arrest, Class A Misdemeanor, 1 count

Defendant: Cadji Furgeson                                Age: 26            Address: Ithaca, NY
Charge:
Disorderly Conduct, Violation

Defendant: Riley Johnson                                 Age: 21            Address: Ithaca, NY
Charge:
Disorderly Conduct, Violation

Around 1:20 am on Saturday April 6, 2019, several uniformed Ithaca Police Department
Officers were on foot patrol on the Ithaca Commons. Officers witnessed a male subject, later
identified as Cadji Furgeson, run across the commons and strike another male subject in the
face, knocking him to the ground. The officers ran towards the fight and attempted to take
Ferguson into custody. While doing so, a bystander, later identified as Rose Degroat, attacked
an officer from behind repeatedly striking him in the head. Degroat then struck a second officer
in the face before being taken into custody. The first officer experienced headaches and was
treated by Bangs Ambulance. The second officer sustained cuts to his face and declined further
treatment. Ferguson was secured in police custody.

The incident caused numerous bystanders, most of whom were uninvolved in the original
incident, to attempt various forms of interference in the officers attempts to make the lawful
      People arrested by the Ithaca Police Department are presumed innocent until proven guilty in a court of law.

                 Police Dispatcher: 607-272-3245                 Police Administration: 607-272-9973
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                                                                                                  2
DETAILS (continued)

arrests. Police used discretion in addressing the crowd and only one additional person, later
identified as Riley Johnson, was arrested for Disorderly Conduct. Due to the chaotic scene, the
                                             d to the area to provide additional personnel.

Degroat was arraigned the morning of April 6, 2019 in Ithaca City Court on two counts of
Attempted Assault in the Second Degree, Class E Felony, for attacking the uniformed Police
Officers and one count of Resisting Arrest, Class A Misdemeanor, for interfering with the
lawful arrest of Furgeson. Degroat was released on her own Recognizance and is scheduled to
re-appear in Ithaca City Court on April 17, 2019 at 9:00 am. Furgeson and Johnson were each
charged with Disorderly Conduct, a Violation. Both were released on Appearance Tickets
returnable to Ithaca City Court on April 24, 2019 at 9:00 am.
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   STATE OF NEW YORK
   COUNTY COURT : COUNTY OF TOMPKINS
   -------------------------------------------------------------
   PEOPLE OF THE STATE OF NEW YORK,
                                       Plaintiff,                   DECISION and ORDER
                              vs.                                   Ind. No. 2019-0042


   ROSE E. DEGROAT,
                                       Defendant.
   --------------------------------------------------------------


            Defendant Rose DeGroat is charged by indictment with Attempted Assault in the 2 nd
   Degree (2 counts), Obstructing Governmental Administration in the 2 nd Degree, and
   Resisting Arrest. By Notice of Motion filed August 26, 2019, defendant, through her
   attorneys, Edward Kopko and Jerome Mayersak, seek dismissal of the indictment in
   furtherance of justice pursuant to Criminal Procedure Law §210.40. By Response dated
   September 9, 2019, the People, by Deputy District Attorney Andrew Bonavia, consent to
   dismissal of both Attempted Assault 2nd charges but oppose dismissal of the remaining two
   misdemeanor charges.


                                     Dismissal in Furtherance of Justice


            Criminal Procedure Law section 210.40 states, in relevant part:
            1. An indictment or any count thereof may be dismissed in furtherance of justice
            when, even though there may be no basis for dismissal as a matter of law      such
            dismissal is required as a matter of judicial discretion by the existence of some
            compelling factor, consideration or circumstance clearly demonstrating that
            conviction or prosecution of the defendant upon such indictment or count would
            constitute or result in injustice.


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           A court is authorized to dismiss criminal charges in the interest of justice if, upon
   considering the criteria set forth in CPL 210.40 and balancing the interest of the individual
   against those of the public, it concludes that the reasons favoring dismissal are both real and
                  People v Kennard, 266 A.D.2d 718, 719 lv. denied 94 N.Y.2d 864 [3 rd dept.
   1999]). Upon the analysis set forth below, it is clear that genuine and compelling reasons
   support dismissal of the charges.


          The court makes the following findings based on the record before it, including
   multiple video recordings of the incident that led to these charges, as required under CPL
    210.40 (1) (a-j).


          In the early morning hours of April 6, 2019, two men, Cadji Ferguson and Joseph
   Ming, began arguing and scuffling with each other on the Ithaca Commons. Although other
   people were present and may have been involved, it is impossible to tell from the videos
   what role they may have played. The reason for the dispute is not known to the Court. At
   one point, Mr. Ming can be seen roughly pushing Mr. Ferguson away from himself. Mr.
   Ferguson then took off his jacket and charged Mr. Ming, knocking him to the ground. Mr.
   Ming immediately got up, apparently uninjured.


          Four Ithaca Police officers were nearby and several witnessed Mr. Ferguson push
   Mr. Ming down. As a group, they rushed to apprehend Mr. Ferguson with Officer Herz in
   the lead. Officer Herz testified before the Grand Jury that he made the decision to use his
   taser on Mr. Ferguson before he reached him for two reasons. First, he said he made eye


   that he was about to run from the police.                                             t
   someone else     I had no idea the condition, the guy could have been unconscious for all I
           As he approached Mr. Ferguson, Officer Herz recalled ordering him to
                                               Per Officer Herz, Mr. Ferguson did not comply
   but tried to get away by going behind other people in the crowd. As another officer grabbed
   Mr. Ferguson, Officer Herz fell to the ground, having unknowingly been tripped by a
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   fellow officer. He testified that when he looked up he saw other officers trying
   unsuccessfully to physically restrain Mr. Ferguson. Having a clear line of sight to Mr.


   we are trained and I immediately went towards him and tried to help take him into
   custody.


          The video evidence                                                While Mr. Ferguson
   did push Mr. Ming to the ground, Mr. Ming stood up within seconds in clear view of the
   police and well before any of the officers arrived at the scene. As the officers approached,
   Mr. Ming and Mr. Ferguson were essentially squaring off with each other like a couple of
   boxers. Neither appeared to have a weapon. As the police officers arrived, Mr. Ferguson
   turned away from them and took a couple of steps before he was forcefully grabbed and
   pushed toward the ground by the police. There was no time for Mr. Ferguson to hear,
   understand, or respond to the command that he get on the ground. As two officers sought to
   physically restrain him, Mr. Ferguson suddenly dropped straight to the ground, paralyzed
   by the taser. Mr. Ferguson was unarmed and was not fighting with the officers when he was
   tasered. He is clearly visible in a video with one arm free while an officer twisted him
   around by his other arm.


          Ms. DeGroat is visible in the videos apparently attempting to calm Mr. Ferguson
   when the police descended on him. She was moving toward Mr. Ferguson as he was pushed
   by the police when he suddenly collapsed. An officer immediately got on top of Mr.
   Ferguson to handcuff him. As Ms. DeGroat threw herself into the melee in defense of Mr.
   Ferguson, three officers went after her and forcibly took her to the pavement face first. Ms.
   DeGroat is seen struggling with the officers as they subdued and handcuffed her.


   (a) the seriousness and circumstances of the offense;


          Upon the dismissal of the Attempted Assault 2 nd charges, defendant remains
   charged with Obstructing Governmental Administration and Resisting Arrest, both Class
                                                 3
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   Defendant appears to have been an interested bystander to a fight between her friend and
   Mr. Ming. She is charged for her actions in response to the aggressively forceful manner by
   which the police subdued Mr. Ferguson.


          Ms. DeGroat witnessed the police charge toward her friend, forcibly grab him and
   inexplicably taser him. She saw him collapse to the ground, unable to move. As soon as Mr.


   DeGroat reacted instinctively to protect Mr. Ferguson in this fast moving and bewildering
   situation. If not for the regrettable actions of the police, she likely would not have
   intervened. When officers sought to restrain her, she forcefully struggled against them.
   Ultimately three officers were involved in forcing her to the ground face down.


   (b) the extent of harm caused by the offense;


          Ithaca Police Officer Benjamin Buck received several scratches to the face during
   the melee. He did not require medical attention nor miss any time from work. Another
   officer complained of a headache.


   (c) the evidence of guilt, whether admissible or inadmissible at trial;


          There is substantial evidence that defendant sought to interfere with the arrest of Mr.
   Ferguson and to prevent her own arrest.


   (d) the history, character and condition of the defendant;


            Ms. DeGroat is a lifetime Ithaca resident with no prior criminal history.


   (e) any exceptionally serious misconduct of law enforcement personnel in the investigation,
      arrest and prosecution of the defendant;
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        Upon careful review of the videotapes, the Court concludes that the Ithaca Police Officers
overreacted to the initial situation. Although they did see Mr. Ferguson push Mr. Ming down,
both men were on their feet and facing each other when the police rushed in to detain Mr.
Ferguson. The police made no effort to defuse the situation or to simply separate the men while
the conflict was sorted out. They rushed Mr. Ferguson and very aggressively tried to force him to
the pavement when he was tasered in the back. Officer Herz was not justified in using a taser on
Mr. Ferguson. His claim that Mr. Ferguson might have knocked Mr. Ming unconscious was
clearly not true; his claim that he could tell Mr. Ferguson was getting ready to run is doubtful;
and it is not


    (f) the purpose and effect of imposing upon the defendant a sentence authorized for the
       offense;


        If defendant were convicted of either crime, the only purpose of a sentence would be
punishment. There is no indication that she is in need of rehabilitation or supervision. The facts
of this situation were unique and not indicative of any tendency toward unlawful behavior.


    (g) the impact of a dismissal upon the confidence of the public in the criminal justice system;


        This factor is difficult to assess. It is likely that some members of the public will disagree
with a dismissal and support the police conduct. It is clear that others will see a dismissal as a
just result.


        The prosecuting attorney has demonstrated ambivalence about the case. After initially
reducing the charges to a misdemeanor level, he sought and obtained felony charges through
Grand Jury indictment. He subsequently proposed to resolve the entire case against defendant
with a plea to a disorderly conduct violation, an offer rejected by defendant.




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   (h) the impact of a dismissal on the safety or welfare of the community;


       The Court sees no negative impact on the safety or welfare of the community based upon
this dismissal.


   (i) where the court deems it appropriate, the attitude of the complainant or victim with
   respect to the motion;


       It is highly likely that the officers involved oppose this dismissal.


   (j) any other relevant fact indicating that a judgment of conviction would serve no useful
   purpose.


       None.




       Conclusion


       Based upon the foregoing analyses, the court finds the                         granted.
There are exceptional circumstances present here that warrant the relief sought.


       This constitutes the Judgment and Order of the Court entered upon notice to all parties.




ENTER

Dated: September 27, 2019
                                                      __________________________
                                                      JOHN C. ROWLEY
                                                      TOMPKINS COUNTY JUDGE


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